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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )       CRIMINAL NO. 1:18-CR-407
                                                     )
ALEKSANDR BROVKO,                                    )
                                                     )
                                                     )
                       Defendant.                    )

                                       SEALING ORDER

       This matter having come before the Court on the defendant’s Motion to Seal pursuant to

Local Criminal Rule 49(E) and for good cause shown, the Court finds:

       1.      The defendant seeks to seal “Defendant’s Motion to Continue Sentencing

Hearing” filed with the Clerk of Court on June 1, 2020.

       2.      Sealing of this material is necessary in order to safeguard the privacy and safety

of the defendant.

       3.      The Court has considered procedures other than sealing, but none will suffice to

protect the information subject to sealing.

       4.      The Court has the inherent power to seal materials submitted to it. See United

States v. Wuagneux, 683 F.2d 1343, 1351 (11th Cir. 1982); State of Arizona v. Maypenny, 672

F.2d 761, 765 (9th Cir. 1982); Times Mirror Company v. United States, 873 F.2d 1210 (9th Cir.

1989); see also Shea v. Gabriel, 520 F.2d 879 (1st Cir. 1975); United States v. Hubbard, 650

F.2d 293 (D.C. Cir. 1980); In re Braughton, 520 F.2d 765, 766 (9th Cir. 1975). “The trial court

has supervisory power over its own records and may, in its discretion, seal documents if the




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public’s right of access is outweighed by competing interests.” In re Knight Pub. Co., 743 F.2d

231, 235 (4th Cir. 1984).

       5.      The defendant requests that the pertinent material be sealed until unsealed by

order of the Court.

       For the foregoing reasons it is hereby:

       ORDERED that the defendant’s Motion to Seal is granted, and it is

       FURTHER ORDERED that “Defendant’s Motion to Continue Sentencing Hearing” filed

with the Court on June 1, 2020, shall be maintained under seal and will remain under seal until

unsealed by order of the Court, and it is

       FURTHER ORDERED that the Clerk provide a copy of this Order to counsel of record.



       ENTERED this ____ day of _______________, 2020.



                                                            ___________________________
                                                            Hon. T.S. Ellis, III
                                                            United States District Judge




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